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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF MISSOURI
                              EASTERN DIVISION

ERB LEGAL INVESTMENTS, LLC,               )
                                          )
                    Plaintiff,            )
                                          )
            v.                            )         No. 4: 20 CV 1255 DDN
                                          )
QUINTESSA MARKETING, LLC,                 )
                                          )
                    Defendant.            )

            CASE MANAGEMENT ORDER - TRACK 2: STANDARD
      Pursuant to the Civil Justice Reform Act, the Expense and Delay Reduction Plan of
the court, and the Differentiated Case Management Program of the court, and following
the Rule 16 conference held on November 30, 2020,
      IT IS HEREBY ORDERED that the following schedule apply in this case, and be
modified only upon court order:
                                 I. SCHEDULING PLAN
1.    This case has been assigned to Track 2 (Standard).
2.    AMENDMENT OF PLEADINGS. All motions for joinder of additional parties
      or amendment of pleadings must be filed no later than December 30, 2020.

3.    DISCLOSURE AND DISCOVERY. Disclosure and discovery must proceed in
      the following manner:

      (a)    DISCLOSURES. The parties must make all disclosures required by Rule
             26(a)(1), Fed.R.Civ.P., no later than December 30, 2020.

      (b)    PLAINTIFF EXPERTS. Plaintiff must disclose all expert witnesses and
             provide the reports required by Rule 26(a)(2), Fed.R.Civ.P., no later than
             May 5, 2021, and have such expert witnesses deposed no later than June 5,
             2021.


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     (c)   DEFENDANT EXPERTS. Defendant must disclose all expert witnesses
           and provide the reports required by Rule 26(a)(2), Fed.R.Civ.P., no later than
           August 15, 2021, and have such expert witnesses deposed no later than
           September 15, 2021.

     (d)   RULE 35 EXAMS. Requests for physical or mental examinations of the
           parties are not anticipated. 2020 and be completed no later than June 15,
           2020.

     (e)   AVOIDING PERSONAL INFORMATION IN CIVIL CASE
           TRANSCRIPTS. In an effort to reduce the amount of information that
           would need to be redacted from final transcripts, attorneys are not to use or
           request from witnesses social security numbers, minors' names, bank account
           numbers, or addresses.

     (f)   PRESUMPTIVE LIMITS. Each party is limited to taking no more than ten
           (10) depositions and to serving no more than twenty-five (25) interrogatories
           per party.

     (g)   DISCOVERY COMPLETION. The parties must complete all non-expert
           discovery in this case from parties and non-parties no later than September
           15, 2021.

     (h)   MOTIONS TO COMPEL. Motions to compel must be filed in a diligent
           and timely manner, but in no event filed more than eleven (11) days
           following the discovery deadline set out above.

4.   ADR. THIS CASE IS HEREBY REFERRED to alternative dispute resolution
     (ADR) as of this date. Counsel shall file with the court no later than February 28,
     2021 their designation of neutral and the date and time of their ADR conference.
     The ADR reference shall terminate on April 30, 2021.

5.   DISPOSITIVE MOTIONS AND EXPERT OPINION MOTIONS. Any
     motion(s) to dismiss, for summary judgment, or for judgment on the pleadings, and
     any expert opinion motion(s) must be filed no later than October 1, 2021.
     Opposition briefs must be filed no later than November 1, 2021, and any reply brief
     may be filed no later than November 11, 2021. The parties must submit a
     courtesy paper copy of their motions, memoranda, and exhibits directly to
     chambers. A hearing on any then pending motion, including any dispositive
     and expert opinion motion(s) is hereby set for November 22, 2021, at 10:00 a.m.
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        COUNSEL PLEASE NOTE: Local Rule 7-4.01(E) requires that a statement of
        enumerated, uncontroverted material facts (SUMF) accompany all motions for
        summary judgment and further requires the responding party to admit or deny those
        alleged facts, in the movant's enumerated, sequential order and with relevant
        citations to the record. If cross-motions or multiple motions for summary judgment
        are filed, the first SUMF shall serve as the master set; each subsequent SUMF must
        adhere to the sequential order of the master set, admitting or denying said facts as
        necessary, followed by any additional facts that a party may wish to proffer. If two
        or more SUMFs are simultaneously filed, the parties must meet, discuss, and agree
        to a method of compliance with this provision. The court will strike any SUMF that
        fails to comply with this paragraph.

6.      FINAL PRETRIAL CONFERENCE. The final pretrial conference is set for
        February 15, 2022, at 10:00 a.m.

7.      TRIAL DATE. This case is set for a JURY TRIAL on February 21, 2022, at
        9:00 a.m. Trial is expected to last 3 days.

        No later than twenty-one (21) days preceding the deadline for completion of
        discovery, any party may request in a written motion that the Court hold a
        supplemental conference to discuss issues of scheduling and management of the
        action. WHETHER TO GRANT SUCH A REQUEST IS A MATTER FOR
        THE COURT'S DISCRETION.

                          II. ORDER RELATING TO TRIAL

       IF THIS IS TO BE A JURY TRIAL, pursuant to Local Rule 8.04 the court may
tax against one or all parties the per diem, mileage, and other expenses of providing a jury
for the parties, when the case is voluntarily terminated or settled by the parties at a time
too late to cancel the jurors' attendance or to use the summoned jurors in another trial,
unless good cause for the delayed termination or settlement is shown.

    NOT LESS THAN TEN (10) DAYS PRIOR TO THE DATE SET FOR THE
FINAL PRETRIAL CONFERENCE the parties must:

     1. Stipulation: Meet and jointly prepare and file with the Clerk:
        (a) a JOINT STIPULATION OF ALL UNCONTESTED FACTS, which may
        be read into evidence subject to any objection(s) of any party set forth in said
        stipulation; and
        (b) a JOINT BRIEF DESCRIPTION OF THE CASE to be read to the venire
        panel before the Voir Dire proceedings.
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2.   Witnesses:

     (a)   Deliver to opposing counsel, and to the Clerk for filing, a list of all proposed
           witnesses, identifying those witnesses who will be called to testify and those
           witnesses who may be called.

     (b)   Except for good cause shown, no party will be permitted to call any
           witness(es) not listed in compliance with this Order.

3.   Exhibits:

     (a)   Mark for identification all exhibits to be offered in evidence at the trial
           (Plaintiffs to use Arabic numerals and defendants to use letters, e.g., Pltf-1,
           Deft.-A, or Pltf Jones-1, Deft Smith-A, if there is more than one plaintiff or
           defendant), and deliver to opposing counsel and to the Clerk a list of such
           exhibits, identifying those that will be introduced into evidence and those
           that may be introduced. The list must clearly indicate for each business
           record whether the proponent seeks to authenticate the business record by
           affidavit or declaration pursuant to Fed.R.Evid. 902(11) or 902(12).

     (b)   Submit said exhibits or true copies thereof, and copies of all affidavits or
           declarations pursuant to Fed.R.Evid. 902(11)or 902(12), to opposing counsel
           for examination. Prior to trial, the parties must stipulate which exhibits may
           be introduced without objection or preliminary identification, and must file
           written objections to all other exhibits.

     (c)   Except for good cause shown, no party will be permitted to offer any exhibits
           not identified or not submitted by said party for examination by opposing
           counsel in compliance with this Order.

     (d)   As to any opinion not expressly disclosed in a medical record or report (e.g.,
           causation, prognosis), a party's treating physician will be considered an
           expert witness subject to Federal Rule of Civil Procedure 26(a)(2) as to the
           undisclosed opinions.

4.   Depositions, Interrogatory Answers, and Request for Admissions:
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     (a)    Deliver to opposing counsel and to the Clerk a list of all interrogatories and
            interrogatory answers or parts thereof and depositions or parts thereof
            (identified by page and line numbers), and requests and answers to requests
            for admissions proposed to be offered in evidence. At least five (5) days
            before the final pretrial conference, opposing counsel must state in writing
            any objections to such testimony and must identify any additional portions
            of such depositions not listed by the offering party which opposing counsel
            proposes to offer.

     (b)    Except for good cause shown, no party will be permitted to offer any
            interrogatory answer, or deposition or part thereof, or answer to a request for
            admission not listed in compliance with this Order. Any objections not made
            as above required may be considered waived.

5.   Jury Instructions: IF THIS CASE IS TO BE TRIED WITH A JURY, submit
     to the Court and to opposing counsel their written request(s) for jury instructions,
     including a short description of the case to be read to the jury before voir dire, and
     forms of verdicts reserving the right to submit requests for additional or modified
     instructions in light of opposing party's requests for instructions. (Each request must
     be supported by at least one pertinent citation.)

     PLEASE NOTE: In complying with the aforesaid requirements regarding
     instructions:

            a.     The court will endeavor, to the fullest extent possible, to use
                   the pattern instructions found in the Manual of Model Civil
                   Jury Instructions (Civil) (West). Therefore, counsel must,
                   if possible, use this pattern instruction source when
                   drafting proposed instructions.

            b.     In the final instructions to be given to the jury after the
                   close of all evidence, the court will provide and use the
                   appropriate instructions set forth in Chapter 3,
                   Instructions for Use at Close of Trial, in the Eighth Circuit
                   Manual of Model Jury Instructions (Civil), either in
                   original form or modified. All other relevant instructions
                   must be proposed by counsel.

            c.     Counsel for all parties must confer and submit to the court
                   a single set of proposed instructions in the order counsel
                   suggest they be read to the jury, which set of instructions
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                    may include alternative instructions, with                counsel
                    reserving the right to make objections thereto.

6.    Trial Brief: Submit to the Court and opposing counsel a trial brief stating the legal
      and factual issues to be tried and authorities relied on, and discussing any anticipated
      substantive or procedural problems.

7.    Motions In Limine: File all motions in limine.

8.    Responses and objections to said motions and other pretrial compliance documents
      must be filed at least five (5) days before the date of the final pretrial conference.

       Failure to comply with any part of this order may result in the imposition of
sanctions.




                                                 /s/ David D. Noce      k
                                          UNITED STATES MAGISTRATE JUDGE


Signed on November 30, 2020.
